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Sent: Tuesday, January 25, 2022 3:09 PM
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Subject: Pictures for the ADA mask litigation (atty/client privilege)

Principals,

I hope you, your staff, and your students are doing well and staying healthy!

As part of the federal District Court litigation and the KCS court-ordered mask mandate, the Law
Department’s excellent investigator, Amy Walker, plans to spend a brief time at your school tomorrow to
take some pictures to support our defense of the “mask case” and note KCS enforcement of mask
usage. Amy will have her ID and will likely be smiling (you can even tell through the mask). She will be
taking pictures of signage and staff with masks. She may also obtain pictures of students wearing
masks, but any such pictures will be altered to protect student identities.

We are only taking pictures at select schools to obtain a cross-section of required mask enforcement in
the district. We don’t expect this to be bothersome, but we would much appreciate it if someone in your
school would be able to provide directions to Amy regarding signage and best places to take some
effective pictures.

Let me know if you have any questions.

Thanks, Gary

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